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                                                                  FILED: March 28, 2025

                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT

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                                           No. 25-1273
                                      (8:25-cv-00462-TDC)
                                     ___________________

        J. DOES 1-26

                     Plaintiff - Appellee

        v.

        ELON MUSK, in his official capacity; UNITED STATES DOGE SERVICE;
        DEPARTMENT OF GOVERNMENT EFFICIENCY

                     Defendants - Appellants

                                     ___________________

                                          ORDER
                                     ___________________

               The court grants the motion of Graham White to withdraw from further

        representation on appeal.

                                               For the Court--By Direction

                                               /s/ Nwamaka Anowi, Clerk
